Case 1:17-cv-02003-GBD-SN Document 228-2 Filed 03/29/22 Page 1 of 2

EXHIBIT “B”
Case 1:17-cv-02003-GBD-SN Document 228-2 Filed 03/29/22 Page 2 of 2

DECEDENT DECEDENT PLAINTIFF PLAINTIFF RELATIONSHIP | CIVIL 9/11 TOTAL FINAL
FIRST NAME LAST NAME FIRST NAME LAST NAME TO DECEDENT | DOCKET # CLAIMANT’S | JUDGMENT
SOLATIUM SOLATIUM
AWARD ECF AWARD
NO.
Stephen Dimino Nancy Dimino Wife 02-cv-7209 54 $12,500,000
Stephen Dimino Sabrina Dimino Daughter 02-cv-7209 54 $8,500,000
Stephen Dimino Gigi Dimino-Ebert | Sister 02-cv-7209 54 $4,250,000
Jonathan Connors Susan Connors Wife 02-cv-7209 54 $12,500,000
Jonathan Connors Jonathan Connors Son 02-cv-7209 54 $8,500,000
Jonathan Connors James Connors Son 02-cv-7209 54 $8,500,000
Ian Schneider Cheryl Schneider Wife 02-cv-7209 54 $12,500,000
Ian Schneider Rachel Schneider Daughter 02-cv-7209 54 $8,500,000
Tan Schneider Jake Schneider Son 02-cv-7209 54 $8,500,000
Ian Schneider Sophie Schneider Daughter 02-cv-7209 54 $8,500,000
Esmerlin Salcedo Matilde Salcedo Wife 02-cv-7209 54 $12,500,000
Esmerlin Salcedo Amber Salcedo Daughter 02-cv-7209 54 $8,500,000
Esmerlin Salcedo Kayla Salcedo Daughter 02-cv-7209 54 $8,500,000
Esmerlin Salcedo Markos Salcedo Son 02-cv-7209 54 $8,500,000
Esmerlin Salcedo Melody Ann Salcedo Daughter 02-cv-7209 54 $8,500,000

